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            Case 1:14-cv-05797-VM-DCF
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                                                                                        May 9, 2018
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         Via Facsimile
         Hon. Victor Marrero,
             Daniel Patrick Moynihan United States Courthouse,
                500 Pearl Street,
                    New York, New York 10007-1312.
                        Re:    Strougo v. Barclavs PLC, et al., No. 14-cv-05797-VM (S.D.N.Y.)
         Dear Judge Marrero:
                  Defendants Barclays PLC and Barclays Capital Inc. ("Barclays") respectfully request a
         pre-motion conference regarding their anticipated motion for summary judgment. Although
         Defendants submitted a summary judgment prie-motion letter on July 29, 2016, Barclays submits
         this letter to address the Second Circuit's Nov~mber 6, 2017 class certification decision, in which
         the Circuit rejected Plaintiffs' omission theory of liability-which Plaintiffs claimed was "the
         heart of this case" 1-and their attempt to invoke the Affiliated Ute presumption of reliance.
         After the Circuit's ruling, Plaintiffs' only rem~ining claim is that certain of Barclays' statements
         concerning its dark pool, LX, ("LX Statementf') purportedly "maintained" the price of Barclays'
         ADS at levels reflecting investor confidence ~n Barclays' "integrity." But, there is no evidence
         that investors considered these statements material, or that they valued Barclays' ADS based on
         "integrity." Indeed, Plaintiffs already conced~d to the Circuit that these "affirmative statements"
         were immaterial. Thus, there are no triable :issues of fact on key elements that Plaintiffs are
         required to prove, and Barclays is entitled to ~ununary judgment. Barclays requests permission
         for Defendants to file a joint summary judgmept brief of not more than 40 pages. 2
                 The alleged misstatements are immaf.t!rial. Plaintiffs' only remaining claims are based
         on alleged misstatements concerning LX that :are indisputably immaterial. In April 2015, Judge
         Scheindlin dismissed the majority of the alleged misstatements in the Complaint because they
                                                             a
         were inactionable puffery or immaterial as matter of law. The categories of misstatements
         dismissed were: (1) statements concemin~ business practices and risk controls, such as
         Barclays' pledge "to increase transparency and conduct [its] business in the right way" after
         "serious and widespread" misconduct involvi~ig alleged manipulation of LIB OR was announced
         in June 2012, and (2) statements regarding the; Salz Report, such as Barclays aspiring to improve
         its "control and compliance culture" and restore its integrity. (ECF No. 38 at 22-30.) The Court
         also recognized that the remaining LX Statements were quantitatively immaterial as a matter of
         law, because "LX accounted for O.1 % of Barclays revenue" (id. at 35 & n.119), but allowed
         claims based on those statements to proceed ~ecause, given "Barclays' past scandals, its efforts
         to restore its reputation, and ... misrepresentations that go to the heart of the firm's integrity and
         reputation," Judge Scheindlin could not, at thJ motion to dismiss stage, ''conclude as a matter of
         law" that the statements were qualitatively imi;naterial. (Id. at 35-36.)
                          In response to those rulings, :Plaintiffs pivoted their entire case, arguing that,
         "because LX accounted for a small fraction: of Barclays' business, it is the omitted facts of
         unethical conduct that a reasonable investo~ would have found material, not its affirmative

            Pis.' Br. at 9, 15, 49, Waggoner v. Barclays PLC, No. 16-1912 (2d Cir. Aug. 29, 2016) ("Pis.' Br.").
            Defendants Jenkins and Diamond, jointly, and %ite have also submined pre-motion letters. Barclays joins
         White's request for summary judgment on the ground tliat there is no evidence that Defendants acted with scienter.
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             Hon. Victor Marrero                                                                                          -2-


             statements." Pls.' Br. at 49 (emphasis add;ed). But the Second Circuit rejected Plaintiffs'
             attempt to change their case from a misstatement action to one based on omjssions> holding that
             Affiliated Ute does not "apply to misstateI)jlents whose only omission is the truth that the
             statement misrepresents." Waggoner v. Barcl&ys PLC, 875 F.3d 79, 96 (2d Cir. 2017).
                        Following this decision, Plaintiffs are not only prevented from pursuing an omissions
             case, they also can no longer pursue their affirmative misstatement case, because they have
             conceded-in their briefs and at oral argument before the Second Circuit-that "investors would
             not havefound the affirmative misstatement$ material." Pls.' B.r. at 15 (emphasis added); see
             also Oral Arg. Tr. at 28: 16-22 ("LX was i~aterial to the company's financials. It was their
             illegal conduct and unethical conduct that w.iS being hidden which was really material.") And
             even if Plaintiffs had not so conceded, they :cannot prove materiality: this Court has already
             ruled that the LX Statements were quantitatively immaterial as a matter of law (ECF No. 38 at 35
             n. l l 9), and Plaintiffs have no evidence--<loc'-lmentary, testimonial, or expert-to support their
             argument that the LX Statements were qualitatively material because they affected investors'
             views of Barclays' finn-wide "integrity" in light of prior scandals. (See Pls.' Aug. 2, 20 I 6
             Letter, at 2.) Plaintiffs have argued that the LX Statements "maintained the price of Barclays'
             securities at levels that reflected investor confidence in the integrity of the Company." Pls.' Br.
             at 3. But the LX Statements could not have: "maintained" the price of Barclays ADS because
             Plaintiffs admit that they were immaterial apd there is no evidence that Barclays' investors
             considered these statements when making their investment decisions. See Amgen Inc. v. Conn.
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             Ret. Plans and Trust Funds, 568 U.S. 455, 466-67 (2013) ("immaterial information, by
             definition, does not affect market price"). Mqreover, the LX Statements had nothing to do with
             Barclays' "integrity"-they concerned the manner in which Barclays operated specific tools
             offered to LX clients to manage exposure to ~ggressive trading in the dark pool. See Dodona I,
             LLC v. Goldman Sachs & Co., 132 F. Supp. 3o 505, 514-17 (S.D.N.Y. 2015) (granting summary
             judgment wbere plaintiffs' evidence was unrelated to the actionable claims). 3 Thus, Plaintiffs'
             "integrity" theory of fraud is merely a repackagedI
                                                                   attempt to impose a duty to disclose corporate
             misconduct-a "duty" that has been firmly rejected by the Second Circuit. See City of Pontiac
             Policemen's and Firemen's Ret. Sys. v. UBS AG, 752 F.3d 173, 184 (2d Cir. 2014) ("As we have
             explained, disclosure is not a rite of confession and companies do not have a duty to disclose
             uncharged, unadjudicated mongdoing.') (alterations and quotations omitted). 4
                     Even if the LX Statements concerned Barclays'
                                                            I
                                                                      integrity, Plaintiffs offer no evidence to
             show that investors considered "integrity" wijen investing in Barclays' ADS. Plaintiffs do not
             point to a single news report, analyst report,/ or any testimony suggesting that Barclays' ADS
             investors valued the company during the Class Period based on the vague concept of"integrity."
                     Finally, the decline in the price of Barclays' ADS on the announcement of the action by,
             and related press statements of, the now-fontner NY AG does not, as Plaintiffs claim, provide
             evidence of the materiality of the LX Statem~nts. Defendants' expert has demonstrated that the
             price decline reflected investor concerns abou~ regulatory scrutiny and potential fines (see James
             Report, Apr. 27, 2016 ,i 36-46), but the Courti need not address that question because Plaintiffs'
             own allegations and evidence undermine their: position. Plaintiffs contend that the price fell, not
                  In any event, che evidence in the record does not sh9w that the LX Statements were actually false or misleading.
                  The Second Circuit has also rejected attempts by plaintiffs to create such a duty using past statements regarding
             the "integrity" of a company or a line of business. See, e.g., Boca Raton Firefighters & Police Pension Fund v.
             Bahash, 506 F. App'x 32, 37 (2d Cir. 2012).              .
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                  1:14-cv-05797-VM-DCF              Document 112             Filed 05/15/18      Page 3 of 3

         Hon. Victor Marrero                                                                              -4-



                                                                              Sincerely,




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         cc:   All counsel of record (via e-mail)




                          The ~!erk_ of Court is directed to enter into the public recor_sl
                          of thts action "the letter above submitted to the Coyrt by /1'&-
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                          SO ORDERED.
